         Case 19-14923-mdc                     Doc       Filed 07/28/22 Entered 07/28/22 08:33:08                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 8
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________ District of __________

 Case number            ___________________________________________




                               410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: _______________________________________                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          ____ ____ ____ ____         Must be at least 21 days after date        _____________
                                                                                     of this notice


                                                                                     New total payment:                         $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
          Case 19-14923-mdc                         Doc           Filed 07/28/22 Entered 07/28/22 08:33:08                           Desc Main
                                                                  Document      Page 2 of 8

Debtor 1         _______________________________________________________                       Case number   (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



     _____________________________________________________________                             Date    ___________________
     Signature




 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company            _________________________________________________________



 Address            _________________________________________________________
                    Number                 Street

                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      ________________________                                                   Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
                                                 REPRESENTATION OF PRINTED DOCUMENT
Case 19-14923-mdc                       Doc           Filed 07/28/22 Entered 07/28/22 08:33:08                                                   Desc Main
                                                      Document      Page 3 of 8



                                                                                                  LOAN NUMBER:
                                                                                                     PREPARED: July 08, 2022

             LEON D CHAMBERS
             5113 WAYNE AVE
             PHILADELPHIA PA 19144-3580
                                                                                                  CUSTOMER SERVICE 1-800-822-5626

                                                                                                     pnc.com/mortgagecustomercare


                                                                 Your Escrow Summary
  Real Estate Settlement Procedures Act (RESPA) guidelines require us to provide you with an Annual Escrow Analysis Statement which includes all of
  your escrow disbursements from the previous year, as well as your estimated escrow disbursements for the upcoming year. All of the information that is
  provided on your enclosed annual escrow analysis statement is regulated by RESPA and cannot be changed. In an effort to simplify the escrow account
  information and monthly payment information that is calculated on the original document, we have also included this summary which will provide you with
  a quick snapshot of your actual escrow analysis statement. Please note that increases or decreases in your property taxes and/or insurance premiums
  will result in a change in your monthly payment amount, and may result in an escrow shortage or surplus.



                                                        New Monthly Payment                               Current Monthly Payment

  Payment Effective Date                                    September, 2022                                     September, 2021
  Payment Amount                                                  $1,203.33                                           $1,153.20

  Monthly Payment Breakdown                             New Monthly Payment                               Current Monthly Payment

  Principal & Interest                                                $865.13                                              $865.13
  Escrow Items                                                        $321.61                                              $311.15
  Escrow Surplus/Shortage Amount                                       $16.59                                              -$23.08
  Total Monthly Payment                                             $1,203.33                                            $1,153.20

  Monthly Escrow Collection Amount                      New Monthly Collection Amount                     Current Monthly Collection Amount

  Monthly Tax Amount                                                   $178.59                                             $178.59
  Monthly Insurance Amount                                             $112.42                                             $100.17
  Monthly MIP/PMI Amount                                                $30.60                                              $32.39
  Monthly Surplus/Shortage Amount                                       $16.59                                             -$23.08
  Total Monthly Escrow Amount                                          $338.20                                             $288.07

  Annual Escrow Collection Amount                       New Annual Collection Amount                      Current Annual Collection Amount

  Annual Tax Amount                                                 $2,143.09                                            $2,143.09
  Annual Insurance Amount                                           $1,349.00                                            $1,202.00
  Annual MIP/PMI Amount                                               $367.20                                              $388.68
  Total Annual Escrow Collection Amount                             $3,859.29                                            $3,733.77




     Please see reverse for more information and Frequently Asked Questions about escrow
     analysis.
Case 19-14923-mdc                         Doc               Filed 07/28/22 Entered 07/28/22 08:33:08             Desc Main
                                                            Document      Page 4 of 8




                                                            PNC Bank
                                                            Attn: Tax Department-B6-YM13-01-7
                                                            P.O. Box 1804
                                                            Dayton, OH 45401-1804




                                                            PNC Bank, NA
                                                            ISAOA ATIMA
                                                            P.O. Box 7433
                                                            Springfield, OH 45504
                                                            1-888-229-5429




        Account Access 24 hours a day – 7 days a week                               Convenient • Toll-Free • Easy-To-Use
              pnc.com/mortgagecustomercare                                                   1-800-822-5626




                    PNC Bank, NA                                                              C/O PNC Bank
           Attn: Customer Service Research
                     B6-YM07-01-7                                                           Lockbox 771021
                    P.O. Box 1820                                                          350 East Devon Ave
                Dayton, OH 45401-1820                                                        Itasca, IL 60143
   PNC Bank, a division of PNC Bank, National Association
                                                                REPRESENTATION OF PRINTED DOCUMENT
                                                                                                ESCROW ACCOUNT
Case 19-14923-mdc                                   Doc
                                                  P.O. Box 1820
                                                                   Filed 07/28/22 EnteredDISCLOSURE
                                                  Dayton, OH 45401-1820                       07/28/22 08:33:08
                                                                                                        STATEMENT
                                                                                                                                                                                           Desc Main
                                                                        Document
                                                  Website: pnc.com/mortgagecustomercare
                                                  Customer Care Center: 1-800-822-5626                     Page 5 ofLOAN
                                                                                                                      8 NUMBER:
                                                                                                                                                DATE:                 July 08, 2022

                                                                                                                                  PROPERTY ADDRESS:
                                                                                                                                     5113 WAYNE AVE 5113
                                                                                                                                     PHILADELPHIA, PA 19144


                  LEON D CHAMBERS
                  5113 WAYNE AVE
                  PHILADELPHIA PA 19144-3580




    CURRENT MONTHLY MORTGAGE PAYMENT
    Principal & Interest                                                            865.13          Æ                          NEW PAYMENT INFORMATION
                                                                                                                  Principal & Interest                                                            865.13
    Escrow                                                                          311.15                        Escrow                                                                          321.61
    Prorated Escrow Surplus
    Total Payment
                                                                                    -23.08
                                                                                  1,153.20
                                                                                                    Æ             Prorated Escrow Shortage
                                                                                                                  Total Payment
                                                                                                                                                                                                   16.59
                                                                                                                                                                                                1,203.33

                                                                                                    Æ
                                                                                                                  New Payment Effective Date                                                    09/01/22



                                                                             COMING YEAR ESCROW PROJECTION
   This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
   insurance premiums, and mortgage insurance.
   This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
   anticipated activity in your escrow account for the coming 12 months.

    ANTICIPATED ESCROW DISBURSEMENT                                          PAYMENTS                                                             PAYMENTS               CUR BAL             REQ BAL
                                                              MONTH         TO ESCROW                      DESCRIPTION                          FROM ESCROW            PROJECTION          PROJECTION
  MORTGAGE INS                                 $367.20
                                                                                                        BEGINNING BALANCE                                                  1,236.89            1,746.03
  CITY TAX                                    $2,143.09
                                                              September           321.61                    FHA/MIP                                  30.60                   1,527.90            2,037.04
  HAZARD INS                                  $1,349.00
                                                              October             321.61                    FHA/MIP                                  30.60                   1,818.91            2,328.05
                                                              November            321.61                    FHA/MIP                                  30.60                   2,109.92            2,619.06
                                                              December            321.61                    FHA/MIP                                  30.60                   2,400.93            2,910.07
                                                              January             321.61                    FHA/MIP                                  30.60                   2,691.94            3,201.08
                                                              February            321.61                    FHA/MIP                                  30.60                   2,982.95            3,492.09
  TOTAL DISBURSEMENTS                         $3,859.29
                                                              March               321.61                    FHA/MIP                                  30.60                   3,273.96            3,783.10
  DIVIDED BY 12 MONTHS                                        March                                        CITY TAX                               2,143.09                   1,130.87            1,640.01
                                                              April               321.61                    FHA/MIP                                  30.60                   1,421.88            1,931.02
  MONTHLY ESCROW DEPOSIT                        $321.61       April                                      HAZARD INS                               1,349.00                      72.88 *            582.02 **
                                                              May                 321.61                    FHA/MIP                                  30.60                     363.89              873.03
   CALCULATION OF ESCROW ADJUSTMENT                           June                321.61                    FHA/MIP                                  30.60                     654.90            1,164.04
                                                              July                321.61                    FHA/MIP                                  30.60                     945.91            1,455.05
  BEGINNING PROJECTED BALANCE                 $1,236.89       August              321.61                    FHA/MIP                                  30.60                   1,236.92            1,746.06
  BEGINNING REQUIRED BALANCE                  $1,746.03       * The projected escrow balance at the low point.
                                                              ** The lowest balance the escrow account should attain during the projected period.

  ESCROW SHORTAGE                               $199.04
                                                                                                              MORE INFORMATION ON REVERSE SIDE
 The required minimum balance allowed by
 federal law (RESPA) is two times your monthly
 escrow payment (excluding MIP/PMI), unless
 your mortgage document or state law specifies
 a lower amount.



                                                                              IMPORTANT MESSAGES
  The shortage in your recent escrow analysis was automatically spread across your upcoming payments, interest free. However, if you wish to discuss options that do not result
  in an increase in your payment, please contact us via the following options: Visit a local Branch, visit our Online Banking, or call our Customer Care team.
  Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
  send cash by mail.



  We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
  prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                       INTERNET REPRINT


  How to contact us or make your monthly Mortgage payments:

               Make your check, money order or cashier’s check payable to PNC                                                           Online Banking Payments:
               Bank and include your loan number and allocation instructions on                                                         pnc.com/mortgagecustomercare
               memo line. Do not send cash by mail.
               Regular Mail:                                          Overnight:                                                        We are here, if you have questions or need
               PNC Mortgage                                           C/O PNC Bank                                                      assistance, please contact our Customer Care
               Payments                                               Lockbox 771021                                                    Center at 1-800-822-5626.
               P.O. Box 771021                                        350 East Devon Ave                                                    Monday-Thursday 8:00 a.m. - 9:00 p.m. ET
               Chicago, IL 60677                                      Itasca, IL 60143                                                      Friday 8:00 a.m. - 5:00 p.m. ET
                                                                                                                                            Saturday 9:00 a.m. - 2:00 p.m. ET
               All payments must be funds from a U.S. Bank Account and are                                                              You can also visit your local PNC branch.
               subject to PNC’s acceptance.
Case 19-14923-mdc                                                 ESCROW
                                                                 Doc      ACCOUNT
                                                                       Filed      DISCLOSURE
                                                                             07/28/22        STATEMENT
                                                                                        Entered 07/28/22 08:33:08 Desc Main
        LOAN NUMBER:                                                   Document       Page 6 of 8          DATE: July 8, 2022

        Your projected escrow balance as of 08/31/22 is $1,236.89. Your required beginning escrow balance, according to this analysis, should be $1,746.03.
        This means you have a shortage of $199.04. We have divided the shortage interest-free, over 12 months. If you choose to pay the shortage in full, then
        your new monthly mortgage payment will be reduced to $1,186.74.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $582.02, as it does in April. Under Federal law,
        your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                       Description                                        Payments                       Disbursements                                                                                                    Balance
                                                       BEGINNING BALANCE                                                                                                                                                                                 1,672.53
         09/21                                         FHA/MIP                                              311.15                                 32.39                                                                                                 1,951.29
         10/21                                         FHA/MIP                                              311.15                                 32.39                                                                                                 2,230.05
         11/21                                         FHA/MIP                                              311.15                                 32.39                                                                                                 2,508.81
         12/21                                         FHA/MIP                                              311.15                                 32.39                                                                                                 2,787.57
         01/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 3,066.33
         02/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 3,345.09
         03/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 3,623.85
         03/22                                         CITY TAX                                                                                 2,143.09                                                                                                 1,480.76
         04/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 1,759.52
         04/22                                         HAZARD INS                                                                               1,202.00                                                                                                   557.52 **
         05/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                   836.28
         06/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 1,115.04
         07/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 1,393.80
         08/22                                         FHA/MIP                                              311.15                                 32.39                                                                                                 1,672.56
        TOTAL                                                                                             3,733.80                              3,733.77

        Account History
        This is a statement of actual escrow account activity from July 2021 through August 2022. Compare it to the Projected Activity from the Previous Analysis
        which appears above the Account History.
        Your total mortgage payment during the past year was $1,153.20 of which $865.13 was your Principal and Interest payment and $311.15 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                    Balance
                                   BEGINNING BALANCE                                                                                              -6,116.26
            07/21                                                                             324.11                                              -6,732.09
            08/21                  FHA/MIP                                                    648.22                        32.39                 -6,116.26
            09/21                  FHA/MIP                                                                                  30.60 *               -6,146.86
            10/21                                                                             576.14                              *               -5,570.72
            10/21                  FHA/MIP                                                                                  30.60 *               -5,601.32
            11/21                                                                             288.07                              *               -5,313.25
            11/21                  FHA/MIP                                                                                  30.60 *               -5,343.85
            12/21                  FHA/MIP                                                                                  30.60 *               -5,374.45
            01/22                  FHA/MIP                                                                                  30.60 *               -5,405.05
            02/22                  FHA/MIP                                                                                  30.60 *               -5,435.65
            02/22                  CITY TAX                                                                              2,143.09 *               -7,578.74
            03/22                  FHA/MIP                                                                                  30.60 *               -7,609.34
            04/22                                                                             288.07                              *               -7,321.27
            04/22                  HAZARD INS                                                                            1,349.00 *               -8,670.27
            04/22                  FHA/MIP                                                                                  30.60 *               -8,700.87
            05/22                                                                           1,152.28                              *               -7,548.59
            05/22                  FHA/MIP                                                                                  30.60 *               -7,579.19
            06/22                  FHA/MIP                                                                                  30.60 *               -7,609.79
            07/22                                                                           8,579.58 e                            *                  969.79
            07/22                  FHA/MIP                                                                                  30.60 *                  939.19
            08/22                  FHA/MIP                                                    328.30 e                      30.60 *e               1,236.89
         TOTAL                                                                             12,184.77                     3,891.68
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/mortgagecustomercare to send us an email, write to us at PNC Bank;
        Attention: Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number
        1-800-822-5626.



O                                                                  O                                          O                                            O
    R                                                                  R                                         R                                                  R
     IG                                                                 IG                                         IG                                                                                IG
                                                                                                                                                                                                                                                                              X
                                                                                                                                                                                                          DO NOT WRITE, STAMP OR SIGN BELOW THIS LINE




         IN                                                                 IN                                         IN                                                                                                                               IN
                                                                                                                                                               




                 A                                                              A                                         A                                                                                                                               A
                                                                                                                                                               RESERVED FOR FINANCIAL INSTITUTION USE 




                        L                                                        L                                          L                                                                                                                                L
                                 D                                                   D                                          D                                                                                                                                D
                                      O                                                  O                                          O                                                                                                                                O
                                          C                                               C                                          C                                                                                                                                C
                                           U                                                 U                                          U                                                                                                                                U
                                              M                                                  M                                          M                                                                                                                                M
          “ORIGINAL DOCUMENT”.
          clearly see the words
          Do not cash if you do not




                                                  EN                                              EN                                         EN                                                                                                                               EN
                                                    T                                                 T                                          T                                                                                                                                T
O                                                                  O                                         O                                             O
 R                                                                  R                                          R                                            R
    IG                                                                 IG                                         IG                                                                  IG
        IN                                                                 IN                                        IN                                                                                                                       IN
              A                                                              A                                          A                                                                                                                                A
                     L                                                           L                                          L                                                                                                                                L
                              D                                                      D                                          D                                                                                                                                D
                                      O                                               O                                          O                                                                                                                                O
                                       C                                                 C                                          C                                                                                                                                C
                                          U                                                  U                                          U                                                                                                                                U
                                              M                                               M                                          M                                                                                                                                M
                                               EN                                                EN                                         EN                                                                                                                               EN
                                                   T                                                 T                                          T                                                                                                                                T
Case 19-14923-mdc          Doc         Filed 07/28/22 Entered 07/28/22 08:33:08                               Desc Main
                                       Document      Page 7 of 8

       Disclosure on Cancellation of Mortgage Insurance Premium (MIP)

       You may have the option to cancel annual MIP in advance of the projected amortization date by making additional
       payments of Mortgage principal. To inquire about loan qualifications for early termination of MIP, send in a written
       request to the address listed below, or contact Customer Service.

               Call Customer Service at 1-800-822-5626, Monday - Thursday, 8:00 a.m. - 9:00 p.m., Friday, 8:00 a.m.
               - 5:00 p.m. ET and Saturday, 9:00 a.m. - 2:00 p.m.

               Or

              Send a written request to the address on the statement
              PNC Bank
              P.O. Box 8736
              ATTN: Mortgage Insurance Department B6-YM13-01-5
              Dayton, Ohio 45401-8736.
Case 19-14923-mdc        Doc     Filed 07/28/22 Entered 07/28/22 08:33:08          Desc Main
                                 Document      Page 8 of 8



                             UNITED STATES BANKRUPTCY COURT


 IN RE:                                          Case No.
                                                 Judge
                                                 Chapter 13



                                 CERTIFICATE OF SERVICE OF
                             Notice of Mortgage Payment Change

  I, the undersigned, hereby certify that, on        , a true and correct copy of the Notice
of Mortgage Payment Change was electronically served upon the following using the
CM/ECF system:

          Attorney:
Trustee:
Office of the United States Trustee

  Further, I certify that, on          , a true and correct copy of the Notice of Mortgage
Payment Change was forwarded via U.S. Mail, first class postage prepaid and properly
addressed, to the following at the address shown below:




                                                            By: /s/ Jodi Porter
                                                            Jodi Porter
                                                            PNC Bank, N.A.
                                                            3232 Newmark Drive
                                                            Miamisburg, OH 45342
                                                            866 754 0659
